              Case 1:16-po-02799-JFA Document 26 Filed 02/13/18 Page 1 of 3 PageID# 23

Prob 12 (10/09)
VAE (tev. 5/17)
                                       UNITED STATES DISTRICT COURT
                                                         for the
                                        EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Jose F. Paz                                              Docket No. l:16-PO-2799


                                                   Petition on Probation


        COMES NOW Kenneth G. Orsino. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Jose F. Paz, who was placed on supervision by the Honorable John F.
Anderson, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 1st day of
December. 2016. who fixed the period of supervision at eighteen (18") months, and imposed the general terms
and conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:



                                                        See Page 2




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                      Sec Attachmcnl(s)



PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.



Returnable Date       ate:MA?CM 2Q, Zc=>l &
                                             \c?:csc^iVvv

                      ORDER OF COURT                               I declare under penalty of perjury that the foregoing
                                                                   is true and correct.
Considered and ordered this              13**           day
or       &J                                                        Executed on
and ordered nled and made a partt of the records
                                         reco    in the
                                                                     ytst^auos*^      Kenneth G. Orsino
                                                                                      2018.02.13 14:55:49-0500'
above case.                     /s/
                  John F. Anderson                                 Kenneth G. Orsino
                  United States Magistrate Judge                   U.S. Probation Officer
John F. Anderson                                                   (703)366-2109
United States Magistrate Judge
                                                                   Place Manassas, Virginia




TO CLERK'S OFFICE
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